Case 1:21-cr-00229-RBJ Document 163 Filed 02/18/22 USDC Colorado Page 1 of 3




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

       Criminal Case No. 21-cr-0229-RBJ

       UNITED STATES OF AMERICA,

                       Plaintiff,
       v.
            1. DAVITA INC.,
            2. KENT THIRY,

                       Defendants.

______________________________________________________________________________

             DEFENDANTS’ UNOPPOSED MOTION FOR ENLARGEMENT
______________________________________________________________________________

       Defendants respectfully move the Court for an enlargement of five pages for the parties’

memoranda in support of their proposed, disputed jury instructions. The United States does not

oppose this motion.

       Pursuant to the Court’s scheduling order, Defendants’ briefing is due by February 22,

2022. ECF 134 at 1. Consistent with the Court’s scheduling order, the parties have been

conferring on jury instructions and have agreed on a number of instructions. However, the

parties dispute several substantive jury instructions related to antitrust law. In preparing their

memoranda, Defendants have endeavored to comply with the Court’s practice standard that

motions “not exceed 15 pages,” inclusive of the caption, the signature block, and the certificate

of service. Practice Standards,

http://www.cod.uscourts.gov/Portals/0/Documents/Judges/RBJ/RBJ_Practice_Standards.pdf?ver

=2020-12-08-151330-180. While Defendants are not certain whether this 15-page limitation

applies to memoranda relating to disputed jury instructions, for the avoidance of doubt,


                                                      1
Case 1:21-cr-00229-RBJ Document 163 Filed 02/18/22 USDC Colorado Page 2 of 3




Defendants now move for the requested enlargement of five pages. Defendants believe that the

additional five pages, for a total of 20 pages, are needed to ensure that they can adequately—yet

concisely—present their arguments to the Court.

                                         CONCLUSION

       The Court should grant Defendants’ request for an enlargement of five pages for the

parties’ memoranda in support of their proposed, disputed jury instructions.




February 18, 2022.                                Respectfully submitted,



                                                  /s/ John F. Walsh III
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Case 1:21-cr-00229-RBJ Document 163 Filed 02/18/22 USDC Colorado Page 3 of 3




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                            CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 7.1(a), Defendants Thiry and DaVita conferred with counsel for
the United States by email on February 18, 2022, regarding this motion, and the United States
does not oppose this motion.



                                CERTIFICATE OF SERVICE

       I certify that on February 18, 2022, I filed the above document with the Clerk of the
Court using CM/ECF, which will send electronic notification thereof to all registered counsel.

                                                    /s/ John F. Walsh III
                                                       John F. Walsh III




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